                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF TEXAS
                            BROWNSVILLE DIVISION

UNITED STATES OF AMERICA            '
ex rel. DR. JOSE G. DONES,          '
                                    '
             Plaintiff/Relator,     '
                                    '                         CIVIL ACTION NO. 1:21-cv-181
v.                                  '
                                    '                         FILED UNDER SEAL
HARLINGEN MEDICAL                   '
CENTER, L.P., DR. ERIC G. SIX,      '
VALLEY NEUROSURGEONS,               '
P.L.L.C., MICHAEL GONZALES,         '
NUERA MEDICAL, L.L.C., and          '
PRIME HEALTHCARE,                   '
SERVICES, INC.                      '
                                    '
             Defendants.            '
___________________________________________


                            THE UNITED STATES’ NOTICE OF
                         ELECTION TO DECLINE INTERVENTION

        Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the United States notifies

the Court of its decision not to intervene in this action. By declining to intervene in this case, the

United States is not waiving or otherwise affecting the rights or ability of the United States or

any other person to contend that provisions in the False Claims Act, including 31 U.S.C.

§§ 3730(b)(5), 3730(d)(3), and 3730(e), bar Relator or any other person from proceeding with

this action.

        Although the United States declines to intervene, it respectfully refers the Court to 31

U.S.C. § 3730(b)(1), which allows a relator to maintain a qui tam action in the name of the

United States; provided, however, that the “action may be dismissed only if the court and the

Attorney General give written consent to the dismissal and their reasons for consenting.” Id.

Therefore, the United States requests that, should either Relator or Defendants propose that this
action be dismissed, settled, or otherwise discontinued, this Court solicit the written consent of

the United States before ruling or granting its approval.

       Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States requests that all

pleadings filed in this action be served upon the United States; the United States also requests

that orders issued by the Court be sent to the United States’ counsel. The United States reserves

its right to order any deposition transcripts; to intervene in this action, for good cause, at a later

date; and to seek the dismissal of Relator’s action or claims. The United States also requests that

it be served with all notices of appeal.

       Finally, the United States requests the Court unseal this Notice, the attached proposed

Order, and Relator’s Complaint. The United States requests that all other papers on file in this

action remain under seal because in discussing the content and extent of the United States’

investigation, such papers are provided to the Court alone for the sole purpose of evaluating

whether the seal and time for making an election to intervene should be extended.




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       A proposed order is attached for the Court’s convenience.

                                                Respectfully submitted,

                                                ALAMDAR S. HAMDANI
                                                UNITED STATES ATTORNEY


                                                /s/ Jill O. Venezia
                                                JILL O. VENEZIA
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                                       CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing United States’ Notice of

Election to Decline Intervention and accompanying Proposed Order were by email on this, the

23rd day of January, 2023, to:

                                 Michael Cowen
                                 Cowen, Rodriguez, Peacock, P.C.
                                 6243 IH-10 West, Suite 801
                                 San Antonio, Texas 78201

                                 Attorney for Plaintiff/Relator



                                                         /s/ Jill O. Venezia
                                                        JILL O. VENEZIA
                                                        Assistant United States Attorney




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